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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
         v.                                  :              No. 22-cr-15 (APM)
                                             :
EDWARD VALLEJO,                              :
                                             :
                      Defendant.             :


                 GOVERNMENT’S OPPOSITION TO DEFENDANT’S
              MOTION FOR CONDITIONAL RELEASE PENDING APPEAL

       The United States of America respectfully opposes Defendant Edward Vallejo’s Motion

for Conditional Release Pending Appeal (ECF No. 863). Vallejo was convicted at trial of seditious

conspiracy and related charges for leading the armed force that supported the Oath Keepers’

conspiracy to forcibly oppose the lawful transfer of power following the 2020 U.S. presidential

election. The Court sentenced Vallejo to 36 months of incarceration for his role in this grave

offense. Vallejo now seeks release pending appeal given the D.C. Circuit’s recent decision in

United States v. Brock, No. 23-3045, 2024 WL 875795 (D.C. Cir. Mar. 1, 2024), and the pending

decision by the Supreme Court in Fischer v. United States, No. 23-5572, cert. granted, 144 S. Ct.

5378 (Dec. 13, 2023), as well as two other issues of law and fact that Vallejo anticipates raising

in his appeal, which has not yet been briefed. Vallejo cannot overcome the high barrier for release

pending appeal required by 18 U.S.C. § 3143(b), for he cannot show (1) by clear and convincing

evidence that he does not pose a danger to the community, or (2) that the appeal of his case likely

will lead to reversal, an order for a new trial, or a reduction of his sentence to a term of

imprisonment that will expire before his appeal is decided. Accordingly, Vallejo’s motion should

be denied.
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                                       BACKGROUND

I.     Vallejo Was Convicted at Trial of Participating in a Conspiracy to Oppose by Force
       the Lawful Transfer of Power Following the 2020 Presidential Election.

       Vallejo, a longtime affiliate of the Oath Keepers, planned with other members of the group,

including its leader, Stewart Rhodes, to oppose by any means necessary, up to and including the

use of force, the lawful transfer of power following the 2020 presidential election. In Vallejo’s

own words, if Trump failed to stop the certification of the election on January 6, it would be the

“declaration of guerrilla war.” Gov. Ex. 1054.Tr. And Vallejo’s role was to ferry the weapons to

the troops on the ground when the war began.

       The evidence at trial established that as early as December 15, 2020, Vallejo focused on

traveling armed to D.C. for the events of January 6. That day, he shared with an acquaintance with

whom he ultimately traveled to D.C. a link to an interview from the “Hagmann Report” in which

the speaker (another longtime Oath Keeper) called on supporters of President Trump to act against

the election: “We’re gonna start moving around the country on January 2nd and 3rd to D.C., armed,

in large groups.” Gov. Exh. 9514.1.1. He continued, “Get with your local militia, get your large

group together, and start moving to D.C., armed. Because on January 4, we need to be en masse

in D.C., armed, demanding, not asking, demanding that we get a peaceful resolution to these voter

corruption issues, these election corruption issues.” Id. When Vallejo sent the link to this

interview to an acquaintance with whom he ultimately traveled to D.C. for January 6, he added,

“Listen to the second hour. It’s ON.” Gov. Exh. 9514 (Msg. 210.T.2.2).

       On December 23, Rhodes published an “open letter” on the Oath Keepers website in which

he noted that, on January 6, 2021, “tens of thousands of patriot Americans, both veterans and non-

veterans, will already be in Washington D.C., and many of us will have our mission-critical gear

stowed nearby just outside D.C.” Gov. Exh. 1008. Rhodes warned in the open letter that if the

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President failed to take action to stop the fraudulent election results from being certified, Rhodes

and others may have to “take to arms in defense of our God given liberty.” Id. These words

prompted some, like Florida chapter leader Michael Adams, who testified at trial, to distance

themselves from the Oath Keepers. Adams testified that he stepped down as leader of the Florida

chapter after reading that letter because he took it as Rhodes “telling the President of the United

States in this letter, in the text of this letter and in the previous letter, that if he didn’t do this, we

were.” 12/16/22AM Tr. at 1618-19.

        In contrast, Defendant Vallejo forwarded Rhodes’ open letter to a co-conspirator in

Arizona, Gov. Exh. 9514 (Msg. 210.T.13.19), and a few days later, that co-conspirator reached out

to Rhodes asking how he and Vallejo could get involved “as supplemental personnel” for Rhodes’

January 6 operation. Id. (Msgs. 1.S.859.3, 5-6, 16). He continued, “Everyone coming has their

own technical equipment and knows how to use it �,” and “We are rifles, man power, warm

bodies there to support the process and the President.” Id. (Msg. 1.S.859.7, 18).

        In late December, Rhodes, Defendant Vallejo, and their co-conspirators created and

administered encrypted chats on the Signal application with titles like “DC OP: Jan 6 21” and

“1776ˆ2” for coordinating their plans for January 6. Rhodes described DC OP: Jan 6 21 as “THE

DC op thread for all leadership coming in, from multiple states, and together with the overall DC

op leadership.” Gov. Exh. 9514 (Msg. 1.S.159.108). Rhodes added Vallejo to this chat.

        A central piece of the plan for January 6 was the staging of an armed “quick reaction force”

or “QRF” at a hotel just across the river from the Capitol in Arlington, Virginia. Gov. Exh. 9514.

The QRF would be prepared to deliver weapons, including an arsenal of rifles, into the hands of

the co-conspirators on the ground when called. Id. As Vallejo’s group traveled to D.C. for January

6, Vallejo sent around a link to a “NewsBusters” article titled, “CBS Claims Trump Supporters


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Plan to ‘Storm the Capitol’ with ‘Weapons.’” Id. (Msg. 240.S.1.47.1/240.S.1.48.1), see also Gov.

Exh. 9514.4. Then, on January 5, when Vallejo and his group arrived at the QRF hotel, they

unloaded rifle bags and 11 large totes of unknown gear and/or supplies. Gov. Exh. 1518.

       On the morning of January 6, as he watched and waited from the QRF staging location

with the weapons, Vallejo stated, “The American people are going to be told today that we have

liberty and justice for all, or they’re gonna be told, ‘F*** you,” okay? And if they’re told f****

you, that’s going to be the declaration of a guerilla war.” Id. He then added, “I’m just praying to

God that Trump has his head on fucking straight, he has got the machinations behind him, he’s got

all the proof in the world, and he’s going to bring the fucking hammer down! That’s the only

hope, the only chance. If that doesn’t happen, then this shit is on.” Id.

       Later that day, around 1:25 p.m., when it became clear that President Trump and Vice

President Pence were not going to intercede to stop the Certification of the Electoral College vote,

and as a large crowd gathered on the Capitol grounds and converged on the building, Rhodes

messaged the DC OP: Jan 6 21 chat: “Pence is doing nothing. As I predicted.” Gov. Exh. 1500.2.

At 1:38 p.m., Rhodes sent another message to the chat stating, “All I see Trump doing is

complaining. I see no intent by him to do anything. So the patriots are taking it into their own

hands. They’ve had enough.” Id.

       Shortly thereafter, the co-conspirators on the ground in D.C. began moving towards the

Capitol. Id.; 192.V.1. As they did so, one co-conspirator announced over the “Stop the Steal J6”

Zello channel, “We have a good group. We’ve got about 30, 40 of us. We’re sticking together

and sticking to the plan.” Gov. Exh. 1500.2, 1502. She elaborated, “It has spread like wildfire

that Pence has betrayed us, and everybody’s marching on the Capitol.” Id. She continued,

“Trump’s been trying to drain the swamp with a straw. We just brought a shop vac.” Id. Then,



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at about 2:00 p.m., this co-conspirator told those on the Zello channel, “We’re one block away

from the Capitol now. I’m probably gonna go silent when I get there because I’m gonna be a little

busy.” Id.

       By 2:30 p.m., Rhodes had entered the Capitol grounds himself and had begun explicitly

directing his co-conspirators to come to the Capitol to join him. Gov. Exh. 1500.2. Co-conspirator

and cooperating defendant Caleb Berry testified that his group huddled as they entered the Capitol

grounds and discussed how they “were going to try to stop the vote count,” 01/03/23PM Tr. at

2618, because the certification proceeding unfolding inside the Capitol “was illegitimate, it was

unconstitutional, and we had to try and stop it,” 01/04/23AM Tr. at 2762. The group then “stacked

up in a single file line and walked up the stairs” and into the Capitol. 01/03/23PM Tr. at 2620.

       Once inside, half of the group of co-conspirators tried to force their way past riot police to

the Senate Chamber, yelling, “Push! Push! Push!” and “Get in there!” and “They can’t hold us!”

Gov. Exhs. 1500.2, 1505. Only by deploying chemical spray were the officers able to repel this

group of co-conspirators and the other members of the mob. Gov. Exhs. 1505; 01/06/23AM Tr.

at 3374-75. Meanwhile, the other half of the group pushed into the House side of the building in

search of Speaker of the House Nancy Pelosi. Gov. Exhs. 1500, 1505, 1506, 9553(Msgs.

7.T.570.9758, 9760-61); 01/05/23AM Tr. at 3119-29. A second group of co-conspirators breached

the Capitol through the same doors about half an hour later and tried to force their way into the

Rotunda by assaulting law enforcement officers with a stolen law enforcement riot shield and

screaming that this was “our fucking building.” Gov. Exh. 1508. They were eventually expelled

by riot police officers who had begun clearing the building. Id.

       As the boots on the ground attacked the building, Vallejo repeatedly checked in to offer his

support as the “QRF.” At 2:24 p.m., Vallejo messaged the “DC OP: Jan 6 21” Signal chat, “Vallejo



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back at hotel and outfitted. Have 2 trucks available. Let me know how I can assist.” Gov. Exh.

1500.3. At 2:38 p.m., as the first co-conspirator burst through the East Rotunda Doors, Vallejo

messaged the chat again: “QRF standing by at hotel. Just say the word . . . .” Id.

       Co-conspirators Berry and Brian Ulrich both testified at trial that their actions on January

6 were directly linked to the agreement they had entered into with Rhodes and other Oath Keeper

members and affiliates to stop the lawful transfer of presidential power by any means necessary.

Berry told the jury that he took all of Rhodes’ messages about fighting the government to be an

immediate call to fight the government, and when the group went to the Capitol on January 6, it

was to fight the government that day. 01/04/23AM Tr. at 2766. Ulrich testified that while the

group did not explicitly discuss plans to use force to stop the certification proceeding in advance

of January 6, “there was a lot of talk about wanting something to take place, wanting—we wanted

something to happen[,] [w]e wanted the ballots to be recounted,” and “there was a lot of talk in the

text chats leading up” to January 6 about “force with Civil War.” 01/10/23AM Tr. at 3924.

According to Ulrich, arriving at the steps of the Capitol on January was the culmination of this

feeling. Id. at 3926. “Now that the people are in and out of the building now, it kind of felt like

that moment was coming together for us to do something.” Id. Ulrich testified that he felt that he

and the other members of his group were working together towards one common goal: “To stop

the vote count.” Id. at 3929.

       In the messages they sent on the evening of January 6, Rhodes, Vallejo, and their co-

conspirators struck a tone of defiance and showed an intent to continue opposing the lawful transfer

of power by force. “You ain’t seen nothing yet,” Rhodes wrote to the DC OP: Jan 6 21 Sighnal

chat. Gov. Exh. 9554 (Msg 1.S.159.1322). Florida leader Kelly Meggs echoed Rhodes, adding to

that same Signal chat a message stating, “We aren’t quitting!! We are reloading!!” Id. (Msg.



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1.S.159.1326). So too did Vallejo, messaging, “We have only yet begun to fight!” and “‘After

Action Reports’ will be dated 1/21/21 [Devil emoji].” Id. (Msgs. 1.S.159.1331-32, 1337).

       That night, Vallejo joined Rhodes and other leaders of the conspiracy for a celebratory

dinner at a restaurant in Northern Virginia. 01/09/23AM Tr. at 3530-46. Vallejo discussed the

role he played earlier that day: “If anything had happened and they were needed, that they were

going to be called and they were going to come into the Capitol area as a Quick Reaction Force.”

Id. at 3546. Vallejo also discussed his understanding that “groups of people [were] being bussed

in from other locations across the country” to continue the fight the next day. Id. at 3546-47.

       The next morning, Vallejo messaged the “DC OP: Jan 6 21” chat, “We are going to probe

their defense line right now. 6 am they should let us in. We’ll see.” Gov. Exh. 9653 (Msg.

1.S.159.1407). He later posted, “STATUS REPORT: NG has cordoned off the Capital grounds

and no foot traffic allowed. 40 Virginia State Police cars lined up. Outer perimeter stopping vehicle

traffic but a dozen or so walkers/joggers inside it, but not allowed on the building grounds. No

signs or flags supporting Trump visible anywhere.” Id. (Msg. 1.S.159.1424). Vallejo then checked

in with Rhodes: “Status report posted in Ops. Room extended 1 day. Standing by awaiting orders,

Sir.” Id. (Msg. 1.S.139.15). Later, as they traveled back to Arizona, Vallejo and his Arizona co-

conspirator continued to check in with Rhodes to try to meet up, 1/10/23PM Tr. at 4065-68, in

order “to learn next steps and . . . what we should be doing right now,” Gov. Exh. 9653 (Msg.

1.S.859.24).

       For his role in this conspiracy, Vallejo was charged by the grand jury with four counts:

seditious conspiracy, in violation of 18 U.S.C. § 2384 (Count One); conspiracy to obstruct an

official proceeding, in violation of 18 U.S.C. § 1512(k) (Count Two); obstruction of an official

proceeding and aiding and abetting, in violation of 18 U.S.C. §§ 1512(c)(2) and 2 (Count Three);



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and conspiracy to use force, intimidation, or threats to prevent officers of the United States from

discharging their duties, in violation of 18 U.S.C. § 372 (Count Four) (ECF 167). On January 23,

2023, following a several-week trial, a jury convicted Vallejo of all four counts (ECF 450).

II.    The Court Sentenced Vallejo to 36 Months’ Imprisonment, Finding His Conduct
       “Poses a Threat to Democracy.”

       At sentencing, Counts Two and Three (conspiracy to obstruct and obstruction of an official

proceeding) controlled the Sentencing Guidelines analysis, because these were the most analogous

offenses to the seditious conspiracy charged in Count One, and all the counts of conviction

“ultimately group[ed] because they involve[d] the same victim and two or more acts connected by

a common . . . criminal objective or constituting part of a common scheme or plan.” 6/1/23 p.m.

Tr. at 66-67 (citing U.S.S.G. §2M1.1).

       Relevant here, the Court held that the eight-point and three-point upward adjustments under

U.S.S.G. §§ 2J1.2(b)(1)(B) and (b)(2) applied to Vallejo’s conduct. 6/1/23 p.m. Tr. at 67-68. In

applying these adjustments, the Court found that Vallejo’s conduct created a risk of injury to others

“because the fact that the use of weapons and the preparedness of using weapons to bring into the

District, if needed, to prevent the transfer of power and the execution of the laws constitutes a

threat of physical injury to a person.” Id. The Court also found a threat of physical injury in the

relevant conduct of Vallejo’s co-conspirators who tried to push past police officers inside the

Capitol. Id. Finally, the Court found that Vallejo and his co-conspirators’ actions “did involve

the disruption of the proceeding itself for many hours and cause the government great expense in

having – in doing what needed to be done to re-start the proceedings.” Id.

       Taking into account these factors and others, the Court calculated the total offense level as

follows (see id. at 67-69):




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      Base Offense Level                U.S.S.G. § 2J1.2(a)                 14

      Special Offense                   U.S.S.G. § 2J1.2(b)(1)(B)           +8
      Characteristic: Physical
      Injury or Property Damage to
      Obstruct the Administration
      of Justice
      Special Offense                   U.S.S.G. § 2J1.2(b)(2)              +3
      Characteristic: Substantial
      Interference with the
      Administration of Justice
      Special Offense                   U.S.S.G. § 2J1.2(b)(3)(C)           +2
      Characteristic: Extensive
      Scope, Planning, or
      Preparation
      Note 4 Terrorism Adjustment       U.S.S.G. § 3A1.4, n.4(A)            +2
                                                                            Total: 29

Given a total offense level of 29 and criminal history category of I, Vallejo’s Guidelines range was

87 to 108 months of incarceration. 6/1/23 p.m. Tr. at 68.

       In imposing sentence, the Court concluded that a significant period of incarceration was

appropriate, under the 3553(a) factors, because “Mr. Vallejo’s role in this conspiracy puts him in

a different place.” 6/1/23 p.m. Tr. at 99. The Court observed that Vallejo showed a “willingness

to join with others and to be prepared to take up arms when [he was] dissatisfied that the [electoral]

process didn’t work out the way [he] hoped it would.” Id. at 105. The Court described this conduct

as “serious” and “substantial” and observed that “it poses a threat to democracy.” Id. at 107. The

Court ultimately varied downward from the recommended Guidelines range, taking into account

that the defendant did not go inside the Capitol (or even the grounds), did not directly harm or

interfere with any officers, and expressed remorse for his participation in these offenses. Id. at

108. The Court also considered Vallejo’s age, health concerns, and lack of criminal history. Id.

The Court sentenced Vallejo to 36 months’ imprisonment, to be followed by 36 months of




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supervised release, the first 12 months of which was ordered to be served under home confinement.

Id. at 106-07.

       III.      The Brock Decision.

       On March 1, 2024, the D.C. Circuit issued its decision in Brock. The Court held that

§ 2J1.2(b)(2)’s three-point enhancement for “substantial interference with the administration of

justice” does not apply to interference with the Congress’s certification of electoral college votes.

See id. at *8. Brock did not consider the eight-level enhancement in § 2J1.2(b)(1)(B), which

applies if an offense “involved causing or threatening to cause physical injury to a person, or

property damage, in order to obstruct the administration of justice.” Nonetheless, the government

acknowledges that the same reasoning would apply.

       IV.       The Fischer Appeal.

       On December 13, 2023, the Supreme Court granted certiorari in Fischer, a January 6th

appeal that raised the issue of the proper construction of 18 U.S.C. § 1512(c)(2). Oral arguments

were held last month, and a decision is expected by the end of the term.

       V.        Vallejo’s Appeal and the Instant Motion.

       Vallejo noticed his appeal on July 11, 2023 (ECF 656). He has not yet filed a brief in that

appeal, but he asserts in his motion for release pending appeal that he will raise four substantial

questions of law and fact: (1) whether the statute underlying Mr. Vallejo’s felony convictions on

Counts 2 and 3 for conspiracy and obstruction under 18 U.S.C. §§ 1512(k) and 1512(c)(2) applies

to his conduct on January 6, 2021, given the Supreme Court’s decision to grant a writ of certiorari

in Fischer v. United States, 144 S. Ct. 537 (2023); (2) whether the upward adjustment applied

under U.S.S.G. § 2J1.2(b)(2) was invalidated by Brock; (3) whether Congress’s counting of the

electoral votes qualifies as the “the execution of any law” under the seditious conspiracy statute;



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and (4) whether there was sufficient evidence for the jury to find that he reasonably foresaw that

Oath Keepers would enter the U.S. Capitol and interfere with Members of Congress as they

discharged their duties on January 6, 2021.

                                      LEGAL STANDARD

       Under 18 U.S.C. § 3143(b), a defendant who has been sentenced to a term of imprisonment

“shall . . . be detained” unless the defendant meets a two-part test:

            1. “clear and convincing evidence that the person is not likely to flee or pose
               a danger to the safety of any other person or the community if released,”
               and

            2. that the appeal “is not for the purpose of delay and raises a substantial
               question of fact or law likely to result in—(i) reversal, (ii) an order for a
               new trial, (iii) a sentence that does not include a term of imprisonment, or
               (iv) a reduced sentence to a term of imprisonment less than the total of the
               time already served plus the expected duration of the appeal process.”

18 U.S.C. § 3143(b)(1)(A)-(B); see also United States v. Perholtz, 836 F.2d 554, 557 (D.C. Cir.

1988) (“[T]he provision requires a two-part inquiry: (1) Does the appeal raise a substantial

question? (2) If so, would the resolution of that question in the defendant’s favor be likely to lead

to reversal?”).

       If the Court finds that a defendant is eligible for release because the appeal is “likely” to

result in “a reduced sentence to a term of imprisonment less than the total of the time already

served plus the expected duration of the appeal process,” the remedy is not immediate release;

rather, “the judicial officer shall order the detention terminated at the expiration of the likely

reduced sentence.” 18 U.S.C. § 3143(b)(1)(B). The defendant bears the burden to make the

required showing under § 3143(b)(1). Perholtz, 836 F.2d at 555-56 (referring to “the required

showing on the part of the defendant”); United States v. Libby, 498 F. Supp. 2d 1, 3 (D.D.C. 2007).




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                                           ARGUMENT

       Vallejo’s motion fails to overcome the high barrier to release pending appeal under §

3143(b)(1). Specifically, Vallejo fails to establish by clear and convincing evidence that he is not

likely to pose a danger to the safety of any other person or the community if released. Additionally,

the issues he plans to raise on appeal either fail to present a substantial question of law or fact, or

fail to present a likelihood of resulting in a reduced term of imprisonment less than the total of the

time already served plus the expected duration of the appeal process. For each of these reasons,

Vallejo’s motion should be denied.

I.       Vallejo Fails to Show that He Is Not a Risk of Danger to the Community.

       First, Vallejo fails to show that he is not a danger to the community. Through his

participation in the conspiracy that formed the basis of his convictions in this case, Vallejo agreed

to join with his co-conspirators to forcibly oppose the lawful transfer of power following a

presidential election. In support of this conspiracy, Vallejo transported weapons and other supplies

across the country, from Arizona to the D.C. area, and then agreed to serve as a point person to

deliver weapons into the hands of co-conspirators who attacked the Capitol on January 6, 2021.

As this Court observed in sentencing Vallejo, through his conduct in this conspiracy, Vallejo

showed a “willingness to join with others and to be prepared to take up arms when [he was]

dissatisfied that the [electoral] process didn’t work out the way [he] hoped it would.” 6/1/23 p.m.

Tr. at 105. Such conduct “constitutes a threat of physical injury” to others and, even more

significantly, “poses a threat to our democracy.” Id. at 67-69. In his motion, Vallejo offers no

reason to believe he would not engage in such conduct again.




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II.      Vallejo Has Not Raised a Substantial Question of Fact or Law Likely to Result in
         Reversal or a Reduced Sentence that Would Expire Before His Appeal is Resolved.

       This Court should deny Vallejo’s motion for release because he fails to satisfy the second

prong of the standard for release, as well. Vallejo has not shown a likelihood of reversal or reduced

sentence that would result in a term of imprisonment less than the time already served plus the

expected duration of the appeal process, on the basis of the issues he plans to raise on appeal. See

18 U.S.C. § 3143(b)(1)(B). As discussed above, Vallejo asserts that his appeal will raise four

“substantial questions” of law or fact: (1) whether the statute underlying Mr. Vallejo’s felony

convictions on Counts 2 and 3 for conspiracy and obstruction under 18 U.S.C. §§ 1512(k) and

1512(c)(2) applies to his conduct on January 6, 2021, given the Supreme Court’s decision to grant

a writ of certiorari in Fischer v. United States, 144 S. Ct. 537 (2023); (2) whether the upward

adjustment applied under U.S.S.G. § 2J1.2(b)(2) was invalidated by Brock; (3) whether Congress’s

counting of the electoral votes qualifies as the “the execution of any law” under the seditious

conspiracy statute; and (4) whether there was sufficient evidence for the jury to find that he

reasonably foresaw that Oath Keepers would enter the U.S. Capitol and interfere with Members of

Congress as they discharged their duties on January 6, 2021. None of these issues are likely to

result in reversal or a sentence less than the time likely to complete the appeal.

                   a. The Fischer Issue

       Since the Supreme Court has yet to issue a decision in Fischer, it is premature for this

Court to conclude that the holding of that case is likely to invalidate Vallejo’s convictions on

Counts Two and Three. Moreover, even assuming, arguendo, that the holding in Fischer will

create a likelihood of reversal on Counts Two and Three, this would not likely result in a different

sentence for Vallejo. As described above, this Court’s Sentencing Guidelines and 3553(a) factor

analysis across all four counts of conviction were all driven by the same analysis. In other words,

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even if the convictions for Counts Two and Three were reversed and not retried to conviction, the

convictions on Counts One and Four would not be impacted and would result in the same sentence.

As the Circuit recently held, where the district court’s findings at sentencing suggest that the

district court would impose the “same sentence even if the Supreme Court’s decision in Fischer

leads to a reversal of [defendant’s] § 1512(c) conviction,” defendant cannot “show that a sentence

independent of [his] § 1512(c) conviction would include a term of no imprisonment or a reduced

sentence shorter than the expected duration of her appeal.” United States v. Carpenter, No. 23-

3235, 2024 WL 1340206 (D.C. Cir. Mar. 28, 2024).

       In other words, even if the still-pending resolution of Fischer leads to a reversal of Vallejo’s

convictions for Counts Two and Three, his convictions for seditious conspiracy (Count One) and

conspiracy to use force, intimidation, or threats to prevent officers of the United States from

discharging their duties (Count Four) would likely be unaffected, which means he cannot satisfy

the second prong of the standard for release pending appeal on this basis.

                   b. The Brock Issue

       Vallejo incorrectly assumes that holding of Brock, which invalidates the applicability of

two specific offense characteristics that this Court applied at Vallejo’s sentencing, will

automatically result in significantly reduced sentence for him. First, if, following appeal, the case

was remanded for re-sentencing before this Court in light of Brock, this Court would then have an

opportunity to assess whether any other upward departure provisions might be appropriate and

might result in the same total offense level and Sentencing Guidelines range. Second, Brock’s

ruling does nothing to undercut the severity of Vallejo’s offenses, or the appropriateness, under

the 3553(a) factors, of this Court’s 36-month sentence, and this Court could and should vary

upwards upon resentencing to impose the same sentence. Finally, even if this Court were to decline



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to apply upward departures or variances, and were to impose a within-Guidelines sentence, that

would not necessarily entitle Vallejo to release pending appeal.

                           i. Applicability of Upward Departures

       First, at any resentencing – after the appeal in the Circuit has exhausted 1 – the Court would

determine Vallejo’s Guidelines range and then consider any departures or variances. See U.S.S.G.

§ 1B1.1(a)-(c) and § 1B1.1, cmt. (background). The Guidelines apply to a “heartland of typical

cases.” Koon v. United States, 518 U.S. 81, 94-95 (1996). A “departure” is based on “the

framework set out in the Guidelines,” while a “variance” is imposed “outside the guidelines

framework” based under the applicable 18 U.S.C. § 3553(a) factors taken as a whole. United States

v. Murray, 897 F.3d 298, 309 n.8 (D.C. Cir. 2018) (cleaned up).

       Chapter 5, Part K of the Guidelines “identifies some of the circumstances that the

Commission may have not adequately taken into consideration in determining the applicable

guideline range,” which may warrant a departure. U.S.S.G. § 5K2.0(a)(2)(A). There are at least

two such departure provisions that apply to this case: Section 5K2.7 (Disruption of Governmental

Function), and Section 5K2.6 (Weapons). 2 The government submits that either or a combination




       1
          “The filing of a notice of appeal is an event of jurisdictional significance -- it confers
jurisdiction on the court of appeals and divests the district court of its control over those aspects
of the case involved in the appeal.” Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58
(1982); see, e.g., United States v. Hallford, 816 F.3d 850, 855 n.4 (D.C. Cir. 2016) (quoting same).
“The district court does not regain jurisdiction over those issues until the court of appeals issues
its mandate.” United States v. DeFries, 129 F.3d 1293, 1302 (D.C. Cir. 1997).

       2
         If the Court applies any of these departure provisions, the government requests that the
Court also specify that it would have imposed the same sentence as a variance. See United States
v. Brevard, 18 F.4th 722, 728-29 (D.C. Cir. 2021) (upholding the district court’s sentence where
the departure was erroneously applied but the district court indicated that it was also imposing the
sentence as a variance).
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of these departure provisions would justify an upward departure that would make the Court’s

current sentence of 36 months a within-Guidelines sentence.

       First, an upward departure is justified where an offense results in “a significant disruption

of a governmental function.” U.S.S.G. § 5K2.7. 3 This Court already found, in sentencing Vallejo,

that Vallejo and his co-conspirators’ actions “did involve the disruption of the proceeding itself

for many hours and cause the government great expense in having – in doing what needed to be

done to re-start the proceedings.” 6/1/23 p.m. Tr. at 67-68.

       A departure under this guideline is admittedly warranted only in “unusual” circumstances

where the Guidelines do not reflect the appropriate punishment for the offense. Id. In such

circumstances, “the court may increase the sentence above the authorized guideline range to

[1] reflect the nature and extent of the disruption and [2] the importance of the governmental

function affected.” Id. However, the obstruction of the Electoral College certification on January

6, 2021 is the type of unusual circumstance that the Sentencing Commission could not have

anticipated and that warrants an upward departure. As the commentary explains, departure under

§ 5K2.7 is appropriate if the disruption of a governmental function is “substantial,” meaning

“substantially in excess” of the disruption ordinarily involved in an obstruction offense. See

§ 5K2.0 cmt. 3(B)(ii). Those who obstructed the certification proceedings on January 6 targeted

the peaceful transfer of power, one of the fundamental and foundational principles of our




       3
         This guideline does not require the government to establish a direct link between the
defendant’s misconduct and the alleged disruption, nor does it “require that the disruption be of
any particular type or consequence.” See United States v. Saani, 650 F.3d 761, 765-66, 771 (D.C.
Cir. 2011).
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democracy. They were part of a mob that injured more than one hundred police officers and

resulted in more than 2.9 million dollars in losses.4

       Indeed, Defendants like Vallejo “endanger[ed] our democratic processes and temporarily

derail[ed] Congress’s constitutional work.” Brock, 2024 WL 875795, at *15. January 6 was an

unprecedented day in American history. Surely few, if any, disruptions of governmental functions

have been more “substantial,” and it was a disruption far “in excess of . . . that which ordinarily is

involved in” an obstruction offense (such as impeding a single judicial proceeding). § 5K2.0(a)(3);

id. cmt. 3(B)(ii). But following Brock, the seriousness of the crimes committed by defendants like

Vallejo is not adequately captured by the applicable Guideline, § 2J1.2. Other judges on this court

have already applied § 5K2.7 in a January 6 case. See United States v. Eicher, 22-cr-38 (BAH),

Sent. Tr. 9/15/23 at 50 (applying § 5K2.7 because the defendant “join[ed] a mob, in the center of

the melee, and through the sheer numbers and aggressive conduct towards police, breached the

Capitol resulting in stopping the legitimate business of Congress for hours”).

       Another upward departure that is applicable to the facts and circumstances of Vallejo’s

offenses is the upward departure under Section 5K2.6. Such a departure is warranted “[i]f a

weapon or dangerous instrumentality was used or possessed in the commission of the offense.”

Here, the conspirators’ staging of an arsenal of semi-automatic rifles and other firearms just across

the Potomac River means they “used or possessed” weapons to obstruct Congress (and to commit




       4
         Given the dangerous circumstances created by the riot, the Court could also depart under
§ 5K2.14 in addition to, or as an alternative to, departing under § 5K2.7. Section 5K2.14 provides
for a departure if “national security, public health, or safety was significantly endangered.” The
assault on the Capitol endangered the safety of the public, police, and elected officials in a way
not already captured by Vallejo’s guidelines range, so a departure would be appropriate. Cf. United
States v. Calloway, No. 21-3057, 2024 WL 925790, at *3 (D.C. Cir. Mar. 5, 2024) (affirming
departure under § 5K2.14 where district court found that the defendant “created a serious risk that
multiple individuals could have been killed or injured”).
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sedition), yet the use and possession of those weapons is not reflected by any other adjustment or

increase in the total offense level.

        Courts of appeals have affirmed upward departures for firearms possession under Section

5K2.6 in fraud cases, premised on the idea that the fraud Guideline does not take into account the

use of a weapon, and therefore does not adequately capture a defendant’s dangerousness or the

seriousness of the offense. United States v. Paslay, 971 F.2d 667, 672 (11th Cir. 1992); United

States v. Gaddy, 909 F.2d 196, 199-200 (7th Cir. 1990). 5 The same premise holds true here: the

conspirators, including Wilson, transported and possessed firearms in furtherance of their seditious

conspiracy and obstruction of the congressional proceeding.

        This very dangerous aspect of the conduct of Vallejo and his co-conspirators would no

longer reflected in the specific offense characteristics and adjustments under the Sentencing

Guidelines, post-Brock. This Court previously accounted for the QRF component of the conspiracy

in applying the eight-level adjustment under U.S.S.G. § 2J1.2(b)(1)(B), for offenses “causing or

threatening to cause physical injury to a person, or property damage, in order to obstruct the

administration of justice.” See 6/1/23 p.m. Tr. at 67-68 (finding that Vallejo’s conduct created a

risk of injury to others “because the fact that the use of weapons and the preparedness of using

weapons to bring into the District, if needed, to prevent the transfer of power and the execution of

the laws constitutes a threat of physical injury to a person). See also United States v. Rhodes, et

al., No. 22-cr-15, 5/25/23AM Tr. at 73-74 (“The essence of the seditious agreement represented a



        5
          The courts in Paslay and Gaddy departed upward by four and two levels, respectively
(though the Paslay court departed upward on multiple grounds). Many Guidelines provide a two-
level increase if a firearm was possessed. See, e.g., U.S.S.G. § 2B2.1(b)(4) (burglary); §
2B2.3(b)(2) (trespass); § 2B5.1(b)(4) (counterfeit bearer obligations); § 2B5.3(b)(6)(B) (criminal
infringement of copyright). Others provide a three-level increase for the same characteristic. See,
e.g., U.S.S.G. § 2B3.1(b)(2)(E) (robbery); § 2B3.2(b)(3) (extortion by force).

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threat to others, including members of Congress. Mr. Rhodes and other co-conspirators had

established an arsenal of weapons on the other side of the Potomac River that could be brought in

on notice if needed to accomplish their ends to disrupt the transfer of power. Such conspiracy,

which, by definition, contemplated the use of force against individuals within the United States

Government, threatened to cause physical injury to a person.”). Thus, the Court should depart

upward to to “ensur[e] appropriate additional punishment for the additional [firearms] crimes.”

U.S.S.G. § 3D1.4, bkgd. cmt.

                          ii. Appropriateness of Upward Variance

       If the Court decides not to apply the upward departure provisions suggested above, an

upward variance to the amended, post-Brock Sentencing Guidelines range would be warranted to

achieve an appropriate sentence under the § 3553(a) sentencing factors. An upward variance is

appropriate when “the defendant’s conduct was more harmful or egregious than the typical case

represented by the relevant Sentencing Guidelines range.” United States v. Murray, 897 F.3d 298,

308–09 (D.C. Cir. 2018) (cleaned up). At any resentencing, an upward variance would be

warranted to account for the § 3553(a) sentencing factors—specifically, the unique nature,

circumstances, and seriousness of the offense, and Vallejo’s characteristics.

       As discussed above, Brock did not negate the severity of the crimes of Vallejo and his co-

conspirators. If anything, engaging in a seditious conspiracy to forcibly oppose the lawful transfer

of power following a presidential election is far more serious than interfering with a routine court

proceeding, even if such interference was substantial and involved risk of injury or property

damage. See Brock, 2024 WL 875795, at *15 (“[I]nterference with one stage of the electoral

college vote-counting process . . . no doubt endanger[ed] our democratic processes and temporarily

derail[ed] Congress’s constitutional work[.]”). As this Court has observed,



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       A seditious conspiracy is among the most serious crimes an individual American
       can commit. It is an offense against the government to use force. It is an offense
       against the people of the country. . . . It’s a series of acts in which you and others
       committed to use force, including potentially with weapons, against the government
       of the United States as it transitioned from one President to the other.
United States v. Rhodes, et al., No. 22-cr-15, 5/25/23AM Tr. at 113.

       Because the holding of Brock has led to the result that the adjustments provided under the

Sentencing Guidelines for seditious conspiracy and obstruction of Congress do not account for the

risk of death, bodily injury, and extensive property damage, or the substantial interference with

justice and democracy, caused by the defendant’s crimes, this Court should vary upwards to ensure

that the defendant’s sentence adequately reflects the grave nature of his offenses.

       As discussed throughout this memorandum, Vallejo’s role in this seditious conspiracy to

oppose by force the lawful transfer of power following a presidential election posed a danger to

both human lives and to our democracy that should be reflected in the sentencing analysis—and

will not be if this Court fails to depart or vary upwards. Several other judges on this Court have

held, since Brock, that an upward departure or variance would be appropriate to correct for an

amended “Guidelines Range [that] does not accurately reflect the seriousness of [the defendant’s]

conduct.” Brock, No. 21-cr-140, ECF No. 121 (Apr. 23, 2024, D.D.C., Bates, J.) (“Accordingly,

the Court would likely impose an above-Guidelines sentence approaching 16 months, whether by

way of departure (whether based on U.S.S.G. § 5K2.7 or another provision) or variance.”); see

also United States v. Fonticoba, No. 21-cr-638, ECF No. 81 (Apr. 11, 2024, D.D.C., Kelly, J.)

(denying motion for release pending appeal on Brock grounds, and noting that the post-Brock total

offense level would be 10, and that “it would be almost crazy for the Court not to vary up

significantly because . . . we’ve got to capture for deterrence purposes, [] all the other 3553(a)

factors”) (citation and internal quotation marks omitted); United States v. Reffitt, No. 21-cr-32,



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ECF No. 182 (Apr. 10, 2024, D.D.C., Friedrich, J.) (indicating that the court would vary upwards,

post-appeal, and observing: “Following Brock, obstructive conduct is subject to a potential 11-

point Guidelines swing depending on whether it interfered with, on one hand, a ‘judicial, quasi-

judicial, and adjunct investigative proceedings,’ or on the other hand, any other type of formal

proceeding. This disparity—though tracking the Guidelines’ text—does not reflect the importance

and solemnity of the Congressional proceeding to certify the electoral vote count, nor does it reflect

the gravity of Reffitt’s obstructive conduct.”); United States v. Bender, 21-cr-508, ECF 161 (Mar.

6, 2024, D.D.C., Howell, J.) (“The D.C. Circuit issued an opinion on March 1, 2024 in United

States v. Brock, No. 23-3045, holding that the sentencing enhancement at U.S.S.G. § 2J1.2(b)(2)

does not apply to convictions under 18 U.S.C. § 1512(c)(2) for conduct disrupting Congress’s

counting and certification of the electoral college votes on January 6, 2021, but that decision does

not influence the outcome in this case, since the Court would have varied upwards by at least three

offense levels to account for the significant disruption of a critical and important governmental

function as a result of defendants’ offense conduct if the specific offense characteristic at U.S.S.G.

§ 2J1.2(b)(2) did not apply.”).

       Thus, at any resentencing, this Court may depart or vary upward to impose a significant

sentence.

                          iii. An Amended Sentence Would Not Require Immediate Release

       Finally, Vallejo’s assumption that he would receive a significantly reduced sentence simply

because the +3 and +8 enhancements no longer apply is not enough to carry his burden under 18

U.S.C. § 3143(b)(1)(B)(iv). Removing the 11 levels for the two specific offense characteristics

negated by Brock would result in a total offense level of 18, for a recommended Sentencing

Guidelines range of 27-33 months of incarceration. The top of that Guidelines range is only three



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months lower than the sentence this Court imposed on Vallejo. Section 3143(b) directs the Court

to order the defendant released only once he has served the time he is likely to serve upon

resentencing. 18 U.S.C. § 3143(b)(1)(B) (“[I]n the circumstance described in subparagraph (B)(iv)

of this paragraph, the judicial officer shall order the detention terminated at the expiration of the

likely reduced sentence.” (emphasis added)). Vallejo has been in custody for approximately 13

months. Thus, a sentence anywhere within a Guidelines range of 27 to 33 months would not entitle

Vallejo to release now.

       III.     Whether Certification Proceeding Constituted “the Execution of Any Law”

       The remaining two grounds for release pending appeal are based on arguments unrelated

to Fischer and Brock that Vallejo plans to raise on appeal. Both arguments have been dismissed

previously by this Court for sound reasons and are unlikely to lead to reversal or the granting of a

new trial.    As Vallejo acknowledges, he previously joined a motion by his co-defendants

challenging whether Congress’ certification of the Electoral College Vote constitutes “the

execution of any law” for the purposes of the seditious conspiracy statute. Mot. at 9 (citing ECF

Nos. 84, 94). In denying those motions, this Court issued a thorough opinion laying out all the

reasons why the Certification Proceeding does constitute the “execution of any law.” (ECF No.

176.) For all the reasons cited in the Court’s decision, which the government incorporates herein

by reference, this issue does not present a substantial question of fact or law likely to result in

reversal, such that release pending appeal is warranted.

       Vallejo nonetheless contends that “this novel question of statutory interpretation presents,

at a minimum, ‘a close question…that very well could be decided the other way.’” Mot at 10. The

mere fact that this precise issue has never been decided, since there has never previously been a

conspiracy to oppose by force the lawful transfer of presidential power in the United States by,



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among other means, seeking to obstruct Congress’ certification of the Electoral College vote, does

not mean this is an issue that will likely result in reversal. Rather, the extensive briefing presented

by the parties and the thoughtful opinion rendered by the Court makes it far more likely that

Vallejo’s seditious conspiracy conviction will be affirmed on appeal.

        Finally, even if Vallejo’s seditious conspiracy conviction were reversed on this ground,

and his 1512(k) and 1512(c)(2) convictions were reversed because of the soon-to-be-issued

decision in Fischer, he still as a conviction for conspiracy to prevent officers from discharging

their duties, under 18 U.S.C. § 372, which would result in the same sentence if it stood on its own.

        IV.     Sufficiency of the Evidence

        Finally, Vallejo says it is likely that he will prevail on appeal in his argument that there

was not sufficient evidence for the jury to find “that he joined a conspiracy to interfere with the

certification proceeding.” At the outset, it is worth noting that, in reviewing the sufficiency of the

evidence, the Circuit will “view[] the evidence in the light most favorable to the government, and

affirm[] a guilty verdict where any rational trier of fact could have found the essential elements of

the crime beyond a reasonable doubt.” United States v. Littlejohn, 489 F.3d 1335, 1338 (D.C. Cir.

2007) (internal quotation marks and brackets omitted). “By thus asking only whether any rational

trier of fact could have found the essential elements of the crime beyond a reasonable doubt, our

deferential review impinges upon jury discretion only to the extent necessary to guarantee the

fundamental protection of due process of law.” United States v. Torres, 894 F.3d 305, 369 (D.C.

Cir. 2018) (internal quotation marks omitted). In other words, just by virtue of the standard of

review that the Circuit will apply on appeal to this issue, the defendant faces an uphill battle in

establishing at this stage that this issue raises a substantial question likely to result in reversal that

would justify his release while he makes this case on appeal.



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       Moreover, as outlined in the background section above, and as this Court laid out in the

detailed findings it made in denying Vallejo’s and his co-defendants’ Rule 29 motions, see

5/24/2024 Tr., which the government incorporates herein by reference, there was more than

sufficient evidence for a reasonable jury to find that Vallejo joined an agreement to obstruct

Congress’ certification of Electoral College vote. At trial, the government introduced numerous

statements by Rhodes, Vallejo, and their co-conspirators conveying their commitment to take up

arms and take matters into their own hands if President Trump failed to stop Congress from

certifying the election results on January 6, 2021. 5/24/2023 Tr. at 52-72, 98-105. Vallejo’s own

words, on the morning of January 6, were that if Trump failed “to bring the fucking hammer

down,” then “that’s going to be the declaration of a guerilla war” and “then this shit is on.” Id. at

104 (citing Gov. Exh. 1054.Tr.).

       Then, when Trump failed to bring the proverbial hammer down, Congress began the

certification proceeding, and a riot erupted at the Capitol, Rhodes gave his followers the green

light to join in the attack. See Gov. Exh. 1500.2 (demonstrating how, as the riot began, Rhodes

sent messages to the DC OP: Jan 6 21 chat stating, “Pence is doing nothing. As I predicted,” and

“All I see Trump doing is complaining. I see no intent by him to do anything. So the patriots are

taking it into their own hands. They’ve had enough.” and showing that the co-conspirators

responded by marching towards the Capitol); see also id. (demonstrating that Rhodes, Florida Oath

Keeper leader Kelly Meggs, and January 6 Oath Keepers operations leader Michael Greene had a

three-way call moments before Meggs led a group of co-conspirators up the steps and into the

building); see also 01/03/23PM Tr. at 2618 (testimony of Caleb Berry that his group of co-

conspirators huddled as they entered the Capitol grounds, around the time Kelly Meggs spoke with

Rhodes, and Meggs told the group they “were going to try to stop the vote count”).



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       While Vallejo was not there on the Capitol steps to join in this agreement, he manifested

his ascent from the messages he sent while serving as the quick reaction force back at the weapons

staging area. These messages show Vallejo was aware of what was unfolding at the Capitol from

the TV coverage and from the posts to the “DC Op: Jan 6 21” Signal chat. He responded by

sending two messages offering to activate the QRF—in other words, to transport weapons into the

hands of his co-conspirators on the ground. Id. at 104-105.

       This was not just “political hyperbole,” Mot. at 13. At the time Vallejo made these

statements, Vallejo was guarding a real and tangible arsenal of firearms and supplies that he and

his co-conspirators had transported across the country in support of their agreement to oppose by

force the lawful of power. 5/24/2023 Tr. at 69-74. Vallejo and his co-conspirators deposited these

weapons at the QRF after weeks of planning for a January 6 “operation.” Id. As this Court found,

“viewing the evidence in the light most favorable to the government, [Vallejo’s] expressed

intention of entering the District with firearms to participate in violence at the Capitol was a

reasonable inference that the jury could have drawn” from these messages. Id. at 74.

       And then there was the evidence of Vallejo’s conduct the morning after January 6, where

he went to “probe their defense line,” (and the evidence suggested he surveilled the are near the

Capitol), extended his hotel reservation, and told Rhodes he was “standing by awaiting orders.”

Gov. Exh. 9653. This evidence is relevant to Vallejo’s state of mind on January 6, with respect to

the charges of obstructing and official proceeding and conspiring to do so. It is also direct proof

of the seditious conspiracy count, since that conspiracy was alleged to have continued after January

6, as “there was still one more law that needed to be executed after January 6th, and that was

President Biden’s taking of the oath.” 5/24/2023 Tr. at 89-90. For all these reasons, the sufficiency




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of the evidence of Vallejo’s participation in an agreement to obstruct Congress’ certification of the

election is not sufficiently likely to lead to reversal that this issue merits release pending appeal.

        To the extent that Vallejo’s argument on this issue is less about the evidence and more that,

as a matter of law, an agreement to oppose the lawful transfer of power by any means necessary,

up to and including the use of force, is too vague to constitute a conspiratorial agreement, Mot. at

14 n. 1, this argument is also not sufficiently likely to prevail on appeal to warrant releasing Vallejo

now. First, in making this argument, Vallejo conflates the charged and argued “purpose of the

conspiracy” with the unlawful agreement alleged and proven for each charge. The indictment

alleges, and the government argued at trial, that the colloquial “purpose” of the overarching

conspiracy entered into by Vallejo and his co-conspirators was “to oppose the lawful transfer of

presidential power by force.” ECF No. 167 at ¶16. But for each conspiracy count charged, the

government also alleged and proved, and the jury was instructed they must find, that Vallejo

entered into an unlawful agreement “by force to prevent, hinder, and delay the execution of any

law of the United States” (Count One, at ¶15), “to corruptly obstruct, influence, and impede an

official proceeding, that is, the Certification of the Electoral College vote” (Count Two, at ¶136),

and “to prevent by force, intimidation, and threat, any person, that is, Members of the United States

Congress, from discharging any duties of any office, trust, and place of confidence under the

United States” (Count Four, at ¶140).

        What Vallejo really seems to be arguing is that the government failed to establish a

seditious conspiracy, because it failed to establish a plan in advance of January 6 to attack the

Capitol. ECF 477-1 at 23-24. However, as he acknowledged in the Rule 29 briefing, the

government was not required to show that “the conspirators . . . agree[d] on all the details of their

criminal scheme.” Id. at 25 (quoting United States v. Treadwell, 760 F.2d 327, 336 (D.C. Cir.



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1985)). Indeed, to prove a conspiratorial agreement, “the government need only show that the

conspirators agreed on ‘the essential nature of the plan,’ not that they ‘agreed on the details of their

criminal scheme.’” United States v. Gatling, 96 F.3d 1511, 1518 (D.C. Cir. 1996) (emphasis

added) (quoting Treadwell, 760 F.2d at 336 (citation and quotation marks omitted)); see also

United States v. Hitt, 249 F.3d 1010, 1015 (D.C. Cir. 2001) (citing United States v. Rosenblatt,

554 F.2d 36, 38 (2d Cir. 1977)). As the Supreme Court in Blumenthal v. United States, 332 U.S.

539 (1947), explained, “the law rightly gives room for allowing the conviction of those discovered

upon showing sufficiently the essential nature of the plan and their connections with it, without

requiring evidence of knowledge of all its details or of the participation of others.” Id. at 557

(footnote omitted). “Otherwise,” the Supreme Court observed, “the difficulties, not only of

discovery, but of certainty in proof and of correlating proof with pleading would become

insuperable, and conspirators would go free by their very ingenuity.” Id. It follows, therefore,

that the evidence need not establish that the defendants settled on every detail of an intricately

developed plan. Nor does it matter whether the persons who formed the agreement actually carried

out their plans or whether the agreement ultimately was successful; though, proof concerning the

accomplishment of the object of the conspiracy may certainly be evidence of the existence of the

conspiracy itself. See, generally, Court’s Final Jury Instructions, at 17-19 (describing what is

required to establish the existence of a conspiratorial agreement).

       For the reasons discussed above, the evidence, when viewed in the light most favorable to

the government, amply established beyond a reasonable doubt that the “essential nature of the

plan” Vallejo (and others) joined was to oppose by any means necessary, up to and including the

use of force, the lawful transfer of power following the 2020 presidential election. And, by the

afternoon of January 6, that agreement had crystalized into an agreement “by force to prevent,



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hinder, and delay the execution of any law of the United States” (Count One, Indictment, ECF No.

167 at ¶15), “to corruptly obstruct, influence, and impede an official proceeding, that is, the

Certification of the Electoral College vote” (Count Two, at ¶136), and “to prevent by force,

intimidation, and threat, any person, that is, Members of the United States Congress, from

discharging any duties of any office, trust, and place of confidence under the United States” (Count

Four, at ¶140).

       For the reasons briefed in the Rule 29 litigation and addressed by the Court in denying the

Rule 29 motions, Vallejo’s comparison of his case to the facts presented in the Stone case out of

the Eastern District of Michigan, is inapt. In United States v. Stone, No. 10-20123, 2012 WL

1034937 (E.D. Mich. Mar. 27, 2012), the district court directed a verdict for the defense because

the government attempted to change the theory of the case at trial from the one presented in the

Indictment. See also 5/234/2023 Tr. at 106-107. “Here, by contrast, there is evidence from which

a jury could have concluded that [there was] an implicit agreement [as charged in the Indictment]

to use force to oppose the authority of the United States and the execution of laws governing the

peaceful transfer of Presidential power[, and] that agreement was entered into by multiple

defendants, including Mr. Vallejo.” Id.




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                                           CONCLUSION

          For all these reasons, the defendant’s motion for release pending appeal fails to raise any

substantial questions of law or fact that are likely to lead to reversal or such a significant reduction

of sentence that he would be released before the conclusion of the appellate process, and his motion

also fails to establish that he is not a danger to the community. Accordingly, the motion should be

denied.


                                                Respectfully Submitted,

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